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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:19-cv-00124-WJM-SKC
   Consolidated with Civil Action No. 1:19-cv-00758-WJM-SKC

   OREGON LABORERS EMPLOYERS PENSION TRUST FUND, Individually and On Behalf
   of All Others Similarly Situated,

         Plaintiff,

   v.

   MAXAR TECHNOLOGIES INC.,
   HOWARD L. LANCE, and
   ANIL WIRASEKARA


         Defendants.



    DECLARATION OF KRISTIN N. MURPHY IN SUPPORT OF DEFENDANTS’ MOTION TO
                    DISMISS THE CONSOLIDATED COMPLAINT
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   I, Kristin N. Murphy declare as follows:

         1.       I am an attorney admitted to practice before this Court. I am counsel with the law

   firm of Latham & Watkins LLP, counsel to Defendants Maxar Technologies, Inc. (“Maxar”),

   Howard L. Lance and Anil Wirasekara (collectively, “Defendants”). I have personal knowledge

   of the facts stated in this declaration and, if called as a witness, I could and would testify

   competently thereto. I submit this declaration in support of Defendants’ Motion to Dismiss the

   Consolidated Complaint (“the Motion”), which is filed concurrently herewith. The highlighted

   excerpts consist of the purportedly false statements and corrective disclosures alleged in the

   Consolidated Complaint as well as judicially noticeable exhibits cited in the Motion.

          2.      Attached hereto as Exhibit 1 are true and correct copies of a letter to Trig Smith,

    counsel for Plaintiff, detailing our meet and confer, dated November 27, 2019; a response letter

    from Debashish Bakshi, dated December 4, 2019; and a reply letter to Debashish Bakshi, dated

    December 4, 2019.

          3.      Attached hereto as Exhibit 2 is a true and correct copy of Maxar’s press release

    entitled, “Spacecom Selects Maxar Technologies’ SSL to Build AMOS-8 Communications

    Satellite with Advanced Capabilities,” dated March 26, 2018. For the Court’s convenience, this

    exhibit has been highlighted to identify the points referenced in the Consolidated Complaint.
          4.      Attached hereto as Exhibit 3 is a true and correct copy of Space Systems Loral’s

    March 26, 2018 twitter post. For the Court’s convenience, this exhibit has been highlighted to

    identify the points referenced in the Consolidated Complaint.

          5.      Attached hereto as Exhibit 4 is a true and correct copy of a September 3, 2018

    press release by the Israeli Ministry of Science and Technology. For the Court’s convenience,

    this exhibit also contains a translated version and notarized certification of translation.

          6.      Attached hereto as Exhibit 5 is a true and correct copy of Spacecom’s September
    25, 2018 filing with the Tel Aviv Stock Exchange entitled “Immediate Report.” For the Court’s


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    convenience, this exhibit also contains a translated version and notarized certification of

    translation.

           7.      Attached hereto as Exhibit 6 are true and correct excerpts from Maxar

    Technologies, Ltd.’s Form 6-K, which was filed with the Securities and Exchange Commission

    on May 9, 2018. For the Court’s convenience, this exhibit has been highlighted to identify the

    points referenced in the Consolidated Complaint. A full copy is available upon request or on

    the SEC’s Filing Database.        See Filing Detail, Securities and Exchange Commission,

    https://www.sec.gov/Archives/edgar/data/1121142/000155837018004408/0001558370-18-

    004408-index.htm.

           8.      Attached hereto as Exhibit 7 is a true and correct copy of Anil Wirasekara’s Form

    52-109F2, Certification of Interim Filings, Full Certificate, which was filed with Canadian

    SEDAR on May 9, 2018. For the Court’s convenience, this exhibit has been highlighted to

    identify the points referenced in the Consolidated Complaint.

           9.      Attached hereto as Exhibit 8 is a true and correct copy of Howard L. Lance’s

    Form 52-109F2, Certification of Interim Filings, Full Certificate, which was filed with

    Canadian SEDAR on May 9, 2018.           For the Court’s convenience, this exhibit has been

    highlighted to identify the points referenced in the Consolidated Complaint.
           10.     Attached hereto as Exhibit 9 are true and correct excerpts from Maxar

    Technologies, Ltd.’s Form 6-K, which was filed with the Securities and Exchange Commission

    on July 31, 2018. For the Court’s convenience, this exhibit has been highlighted to identify the

    points referenced in the Consolidated Complaint. A full copy is available upon request or on

    the SEC’s Filing Database.        See Filing Detail, Securities and Exchange Commission,

    https://www.sec.gov/Archives/edgar/data/1121142/000155837018005920/0001558370-18-

    005920-index.htm.




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          11.     Attached hereto as Exhibit 10 is a true and correct copy of Anil Wirasekara’s

    Form 52-109F2, Certification of Interim Filings, Full Certificate, which was filed with

    Canadian SEDAR on July 31, 2018.          For the Court’s convenience, this exhibit has been

    highlighted to identify the points referenced in the Consolidated Complaint.

          12.     Attached hereto as Exhibit 11 is a true and correct copy of Howard L. Lance’s

    Form 52-109F2, Certification of Interim Filings, Full Certificate, which was filed with

    Canadian SEDAR on July 31, 2018.          For the Court’s convenience, this exhibit has been

    highlighted to identify the points referenced in the Consolidated Complaint.

          13.     Attached hereto as Exhibit 12 are true and correct excerpts of Spruce Point

    Capital Management’s Investment Research Report on Maxar Technologies, dated August 7,

    2018. For the Court’s convenience, this exhibit has been highlighted to identify the points

    referenced in the Consolidated Complaint and the Motion. A full copy is available upon request

    or on Spruce Point Management’s website.            See Spruce Point Report, Spruce Point

    Management, https://www.sprucepointcap.com/reports/maxr_research_thesis_8-7-2018.pdf.

          14.     Attached hereto as Exhibit 13 is a true and correct copy of the press release

    entitled, “Maxar Technologies Provides Comprehensive Response to Shareholders Following

    Misleading Short-Seller Campaign by Hedge Fund,” dated August 24, 2018. For the Court’s
    convenience, this exhibit has been highlighted to identify the points referenced in the

    Consolidated Complaint.

          15.     Attached hereto as Exhibit 14 are true and correct excerpts from Maxar

    Technologies, Ltd.’s Form 6-K, which was filed with the Securities and Exchange Commission

    on October 31, 2018. For the Court’s convenience, this exhibit has been highlighted to identify

    the points referenced in the Consolidated Complaint. A full copy is available upon request or

    on the SEC’s Filing Database.      See Filing Detail, Securities and Exchange Commission,




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    https://www.sec.gov/Archives/edgar/data/1121142/000155837018008109/0001558370-18-

    008109-index.htm.

          16.    Attached hereto as Exhibit 15 is a true and correct copy of a Maxar press release

    entitled, “Maxar Technologies Reports Failure of WorldView-4 Imaging Satellite,” dated

    January 7, 2019. For the Court’s convenience, this exhibit has been highlighted to identify the

    points referenced in the Consolidated Complaint.

          17.    Attached hereto as Exhibit 16 are true and correct excerpts from Maxar’s “FQ 1

    2018 Earnings Call Transcripts,” dated May 9, 2018. For the Court’s convenience, this exhibit

    has been highlighted to identify the points referenced in the Consolidated Complaint. A full

    copy is available upon request or at S&P Global, https://www.spglobal.com/marketintelligence.

          18.    Attached hereto as Exhibit 17 are true and correct excerpts of a presentation

    given during Maxar’s First Quarter 2018 Earnings Call, dated May 9, 2018. For the Court’s

    convenience, this exhibit has been highlighted to identify the points referenced in the

    Consolidated Complaint. Defendants will provide a full copy upon request.

          19.    Attached hereto as Exhibit 18 are true and correct excerpts of the transcript of

    Maxar’s “Special Call,” dated November 6, 2018. For the Court’s convenience, this exhibit has

    been highlighted to identify the points referenced in the Consolidated Complaint and the
    Motion. Defendants will provide a full copy upon request.

          20.    Attached hereto as Exhibit 19 are true and correct excerpts of a presentation

    given by Maxar at the Credit Suisse 6th Annual Industrials Conference entitled, “Leading in the

    New Space Economy,” dated November 28, 2018. For the Court’s convenience, this exhibit has

    been highlighted to identify the points referenced in the Consolidated Complaint and the

    Motion. Defendants will provide a full copy upon request.

          21.    Attached hereto as Exhibit 20 is a true and correct copy of a Maxar’s “Notice of
    Change of Auditor,” dated August 1, 2018, which was filed with the Securities and Exchange


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    Commission on August 15, 2018.          For the Court’s convenience, this exhibit has been

    highlighted to identify the points referenced in the Consolidated Complaint and the Motion.

          22.    I declare under penalty of perjury that the foregoing is true and correct.



          Respectfully submitted this 6th day of December 2019.




                                                    By /s/ Kristin N. Murphy
                                                          Kristin N. Murphy




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                               CERTIFICATE OF SERVICE

   The undersigned certifies on this 6th day of December 2019, a true and correct copy of the
   foregoing DECLARATION OF KRISTIN N. MURPHY IN SUPPORT OF DEFENDANTS’
   MOTION TO DISMISS THE CONSOLIDATED COMPLAINT was filed with the Clerk of
   the Court using the CM/ECF system which will send notification of the filing to the following
   addresses:


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                                         Attorneys for Plaintiffs




                                                 /s/ Judith J. Bulanowski
                                                 Judith J. Bulanowski, Legal Secretary




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